Case 1:17-cv-04780-NLH-KMW Document 13 Filed 10/30/17 Page 1 of 2 PageID: 86

 KENT/McBRIDE
 1040 Kings Highway North, Suite 600
 Cherry Hill, NJ. 08034
 Phone: 856 667 3113                                                         Sean P. Hart, Esquire
 Fax: 856 667 4003                                                    Direct Dial: (856) 382-3655
 Fax: 856 667 1966
                                                                      Direct Fax: (856) 382-3656
 www.kentmcbride.com
                                                                         shart@kentmcbride.com

                                        October 30, 2017

The Honorable Karen M. Williams, U.S.M.J.
U.S. District Court for the District of New Jersey
Mitchell H. Cohen Building
4th & Cooper Streets
Camden, NJ 08101

RE:    Jill Sider and Phil Sider v. Tropicana Atlantic City Corp. and Tropicana AC Sub
       Corp.
       Docket No.: United States District Court District of New Jersey 1:17-CV-04780
       D/A: October 30, 2015
       Claim No.: 1810260349
       Our File No.: 101.81053

Dear Judge Williams:

By way of brief background, our office represents Defendant, Tropicana Atlantic City Corp.
(“The Tropicana”) regarding an alleged slip & fall incident that occurred in one of the guest
rooms at the property on October 30, 2015.

Please accept this letter as a request for a case management conference with Your Honor
pursuant to L.R.C.P. 16.1(f)(1) to resolve a case management dispute that has arisen as a result
of a Litigation Hold Letter dated October 24, 2017 that our office received from Plaintiffs’
counsel. The Litigation Hold Letter requests the preservation of components of the subject room
for litigation that Plaintiffs’ have already had the opportunity to inspect.

As Your Honor may recall, a Case Management Order was entered by Your Honor on October
17, 2017. Part of that order required the Plaintiffs to inspect the guest room where the incident
allegedly occurred before October 30, 2017. Counsel from Plaintiffs’ firm and their expert
engineer inspected the subject guest room on October 24, 2017. They were given unlimited
parameters and unlimited time to perform whatever tests they deemed necessary. During the
inspection they never indicated any problems with the scope of the inspection. Plaintiffs’ counsel
has been on notice since August 2017 that the Tropicana will be undergoing renovations to the
entire property. The Tropicana made accommodations to preserve the room for the Plaintiffs up
through October 30, 2017, in order for them to perform any inspections that they deemed
appropriate.
Case 1:17-cv-04780-NLH-KMW Document 13 Filed 10/30/17 Page 2 of 2 PageID: 87



Plaintiffs’ counsel by way of letter dated October 24, 2017, now requests that The Tropicana
preserve for litigation all of the floor tiles, the shower curtain and the shower head pertaining to
the subject room or they will seek a spoliation inference jury charge at the time of trial.

Given that the Plaintiffs have already had ample opportunity to inspect these materials, there
should be no reason that said materials should be preserved for trial since the expert inspection
has already occurred. Defendant, The Tropicana, would have to incur unnecessary costs to
preserve and store these materials for trial.

Our office has reached out to Plaintiffs’ counsel in an attempt to resolve this matter by way of
letter dated October 30, 2017, however Plaintiffs’ counsel responded that they are not willing to
withdraw their litigation hold demand.

For the foregoing reasons, Defendant, The Tropicana, respectfully requests a Case Management
Conference before Your Honor to address this dispute.




                                                      Respectfully Submitted,


                                                      KENT & McBRIDE, P.C.

                                                      By:
                                                        Sean P. Hart, Esquire


CC: Gary Rosen, Esq.
